                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                  GREENEVILLE DIVISION

UNITED STATES OF AMERICA                               )
                                                       )
       v.                                              )              2:19-CR-52
                                                       )              JUDGE REEVES
BRANDON ISAIAH OTEY                                    )


TO THE HONORABLE MAGISTRATE OF THE ABOVE COURT:

            PETITION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM

       Your petitioner, United States of America, by and through the United States Attorney for

the Eastern District of Tennessee, respectfully shows:

                                                  I.

       That Brandon Isaiah Otey is now in the custody of the Sullivan County Jail, at

Bountville, Tennessee, pursuant to a lawful commitment.

                                                 II.

       That there is pending against the defendant, Brandon Isaiah Otey, in this District the

above-captioned case, which is set for an Initial Appearance hearing, or for his case to be

otherwise disposed of upon said indictment heretofore returned against him, on April 24, 2019,

in the United States District Court for the Eastern District of Tennessee, at Greeneville,

Tennessee, at 1:30 p.m. that day and each day thereafter until said case has been disposed.



       WHEREFORE, petitioner prays that the Clerk of this Court be instructed to issue a writ

of habeas corpus ad prosequendum to the Jailer, Sullivan County Jail, at Blountville, Tennessee,

commanding him to produce the said Brandon Isaiah Otey before this Court at the time and place

aforesaid for the purpose aforesaid, and that if the said Jailer so elects, the United States Marshal




Case 2:19-cr-00052-PLR-CRW Document 3 Filed 04/19/19 Page 1 of 2 PageID #: 6
for the Eastern District of Tennessee, or any other duly authorized United States Marshal or

Deputy United States Marshal, be ordered and directed to receive said Brandon Isaiah Otey into

his custody and possession at said Sullivan County Jail, at Blountville, Tennessee, and under safe

and secure conduct to have him before the Judge of our District Court at the time and place

aforesaid for the purpose aforesaid, and to return him to said Jailer, Sullivan County Jail , at

Blountville, Tennessee, as aforesaid.

       Respectfully submitted, this the 19th day of April, 2019.

                                               J. DOUGLAS OVERBEY
                                               UNITED STATES ATTORNEY


                                         By:   s/ Thomas A. McCauley
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                                                  2

Case 2:19-cr-00052-PLR-CRW Document 3 Filed 04/19/19 Page 2 of 2 PageID #: 7
